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                                    IN THE UNITED STATES DISTRICT COURT
                                       WESTERN DISTRICT OF ARKANSAS
                                           FAYETTEVILLE DIVISION

                  UNITED STATES OF AMERICA                              PLAINTIFF/RESPONDENT


                        V.                 Criminal No. 5:09-cr-50103-001


                  MANUEL A. GAXIOLA                                     DEFENDANT/MOVANT


                             MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

                        Currently      before   the    Court   is   a     motion   filed   by   the

                  Defendant/Movant Manuel A. Gaxiola (hereinafter “the Defendant”)

                  entitled “Motion for the Return of Property Under Federal Rule

                  of Criminal Procedure 41(e)” (Doc. 86).                   The Government has

                  filed a Response (Doc. 88) and the Defendant has filed a Reply

                  (Doc. 89) thereto.       This matter was referred to the undersigned

                  for report and recommendation on January 3, 2012.                   (Doc. 90).

                  On June 13, 2012, a hearing was held before the undersigned, who

                  now makes the following findings and recommendations.

                                                  BACKGROUND

                        1.     On January 6, 2010, the Defendant pled guilty to

                  distributing more than 50 grams of                actual methamphetamine.

                  (Doc. 39.)    On May 26, 2010, the Defendant was sentenced to 120

                  months imprisonment, five years supervised release, a $25,000.00

                  fine, a $100.00 special assessment, and the denial of federal



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                  benefits for a period of five years.                                 (Doc. 56.)             On November 4,

                  2011, the Defendant filed the motion now before the Court,

                  alleging that upon his arrest, the Government “confiscated the

                  following properties:”

                        1.     The Quantity of $5,000.00
                        2.     The Quantity of $80.00
                        3.     A Brown Wallet
                        4.     A Black Tahoe VIN #GNEK13Z72R280439

                  (Doc. 86 at p. 2).

                        2.        The       Defendant            seeks         the      return          of      these        items,

                  asserting that the indictment did not contain a forfeiture

                  count; that the items were “not a product of any crime;”                                                       that

                  the items no longer have any evidentiary value; and that the

                  Government failed to notify him of any forfeiture proceedings

                  against him.          (Doc. 86).             Defendant also contends that the Tahoe

                  was owned by his wife and his father-in-law.1

                        3.     The Government asserts that the Tahoe and $2,500.00 of

                  the currency seized were properly administratively forfeited

                  after notice was sent by certified mail both to the Defendant’s

                  attorney of record, Kimberly Weber, and to the Defendant himself

                  at the Washington County Detention Center (hereinafter “WCDC”).

                  The Government also asserts that the Defendant has no possessory

                  interest in the $2,280.00 in DEA funds which were used to

                  purchase methamphetamine from him.

                        1
                        The Court notes that the affidavit of John Hieronymus, Forfeiture Counsel for the DEA, sets forth the steps taken
                        by Defendant’s attorney, Milton DeJesus, on behalf of Defendant’s wife to recover the Tahoe, and her request
                        was denied. It is not necessary to address this issue, as it is not being challenged in this proceeding.

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                        4. In an affidavit submitted in support of the Government’s

                  response to Defendant’s motion, Drug Enforcement Administration

                  (hereinafter “DEA”) Special Agent Bryan Rorex states that an

                  undercover officer purchased methamphetamine from the Defendant

                  on three occasions, resulting in the Defendant’s arrest on

                  September 17, 2009.                   During one of the transactions and at the

                  time of his arrest, the Defendant was driving a black Chevrolet

                  Tahoe.      According to Agent Rorex, on the day of the Defendant’s

                  arrest, officers executed a search warrant at his residence and

                  seized $4,780.00 in currency,2 of which, $2,280.00 was identified

                  as DEA funds used to buy methamphetamine from the Defendant.

                  Agent Rorex states that the Defendant’s wallet was also seized,

                  which contained $80, also identified as DEA funds that had been

                  used to buy methamphetamine from Defendant, and was subsequently

                  placed in his property at the jail.                                   (Doc. 87-1.)                 Agent Rorex

                  echoed these facts at the hearing.

                        5.     The Government also submitted a declaration from John

                  Hieronymus,          Forfeiture               Counsel           for       the        DEA,        stating           the

                  following with regard to the administrative forfeiture of the

                  $2,500.00 in currency seized from the Defendant:

                        *        $2,500.00 of the currency seized from the Defendant
                                 was   submitted  to  the  DEA   for  administrative
                                 forfeiture.



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                        Although Rorex’s affidavit reflects $5,700 in currency was seized, Rorex testified at the hearing that this was an
                        error, and that the real amount seized was $4,700, plus the $80 found in Defendant’s wallet.

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                        *     On October 13, 2009, the DEA sent written notice of
                              the seizure by certified mail to the Defendant “c/o
                              Kimberly Weber/Esq.”      On October 16, 2009, an
                              individual presumably with Ms. Weber’s office signed
                              for and accepted delivery of the notice. (Doc. 87-2
                              at pg. 20).    The Court notes that Ms. Weber was
                              appointed to represent the Defendant at his initial
                              appearance on September 21, 2009, but was allowed to
                              withdraw on October 16, 2009, as another attorney –
                              Milton DeJesus – entered an appearance on October 14,
                              2009, on the Defendant’s behalf.

                        *     On October 13, 2009, the DEA sent written notice of
                              the seizure by certified mail to the Defendant at the
                              WCDC. On November 23, 2009, the United States Postal
                              Service returned the notice to the DEA, stamped
                              “RETURN TO SENDER. ATTEMPTED NOT KNOWN.”

                        *     The seizure of the currency was published in The Wall
                              Street Journal on October 26, November 2, and November
                              9, 2009.

                        *     On November 16, 2009, the DEA sent written notice of
                              the seizure by certified mail to the Defendant at the
                              WCDC. An individual by the name of “Amanda Caudle”
                              signed for and accepted delivery of the notice. The
                              Court notes that the “Date of Delivery” is left blank
                              on the receipt form. (Doc. 87-3 at pg. 2.)

                        *     On February 24, 2010, after the time limit for filing
                              a claim to the currency had expired and no properly
                              executed claim had been received by the DEA, the DEA
                              forfeited the $2,500.00 in currency to the United
                              States.

                        6.    With regard to the Tahoe seized and administratively

                  forfeited, Mr. Hieronymus states the following:

                        *     A 2002 Chevrolet Tahoe was seized from the Defendant
                              on September 17, 2009, the date of his arrest, and
                              submitted to the DEA for administrative forfeiture.
                              (Doc. 87-2 at p.6).

                        *     On October 13, 2009, the DEA sent written notice of
                              the seizure by certified mail to the Defendant at the
                              WCDC. On October 19, 2009, the United States Postal
                              Service returned the notice with the notation, “RETURN

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                                TO SENDER. ATTEMPTED NOT KNOWN.        UNABLE TO FORWARD.”
                                (Doc. 87-2 at pgs. 7-8).

                        *       On October 13, 2009, the DEA sent written notice by
                                certified mail to the Defendant “c/o Kimberly
                                Weber/Esq.”    On October 16, 2009, an individual
                                presumably with Ms. Weber’s office signed for and
                                accepted delivery of the notice. (Doc. 87-2 at p. 8).

                        *       Seizure of the vehicle was published in the Wall
                                Street Journal on October 26, November 2, and November
                                9, 2009. (Doc. 87-2 at p. 9).

                        *       On November 13, 2009, the DEA sent written notice of
                                the seizure by certified mail to the Defendant at the
                                WCDC. An individual by the name of “Brenda Allred”
                                signed for and accepted delivery of the notice. The
                                Court notes that the date of delivery appears to be
                                left blank on the receipt form; if a date is written
                                on the form, it is illegible. Doc. 87-3 at p. 23).

                        *       On March 22, 2010, after the time limit for filing a
                                claim to the vehicle had expired and no properly
                                executed claim had been received by the DEA, the DEA
                                forfeited the Tahoe to the United States. (Doc. 87-2
                                at p. 12).

                        7.      In his reply, the Defendant asserts that he did not

                  receive actual written notice of the forfeitures, nor did he

                  receive “constructive notice through the publication in the Wall

                  Street Journal,” as the WCDC did not receive this publication

                  and, in any event, the Defendant cannot read English.

                        8.    In the Government’s response to Defendant’s motion,

                  which was filed eight days prior to the hearing, the Government

                  attached as an exhibit the affidavit of Susan Hunthrop, who was

                  the legal assistant for attorney Kimberly Weber, Defendant’s

                  former attorney.      She stated in her affidavit that on October

                  16,   2009,    she   received   Notices   of   Seizures     from   the   DEA

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                  involving $2,500.00 U.S. Currency and 2002 Chevrolet Tahoe which

                  were addressed to Defendant, and on that same day, she sent the

                  notices via e-mail to attorney Milton DeJesus.                  (Doc. 102-1).

                        9.    At the hearing held before the undersigned, Defendant

                  testified    that    about   a    month     or   two   months   after   he   was

                  arrested, “they” sent him some papers about the truck, as well

                  as what he believed were papers regarding the money that was

                  seized, and that he gave the papers to Mr. DeJesus “right away,

                  I think in a week.”          When shown the actual notices at the

                  hearing by the undersigned, Defendant testified that they looked

                  like the ones he received.          He knew that one paper related to

                  the Tahoe and the other related to $2,500.               Defendant testified

                  that he told Mr. DeJesus to fight for his “stuff” and try to get

                  the truck and “stuff” back.         Defendant admitted that he knew the

                  government was attempting to retain the Tahoe and money seized.

                  Defendant also testified that it was possible some of the money

                  seized “could be from drugs” but could also be from money he

                  earned as a carpenter.           He testified that he had been paid for

                  his carpentry work fifteen days prior to his arrest.

                        10. The Court also received testimony at the hearing from

                  Mr. Milton DeJesus, via telephone, who represented Defendant

                  subsequent to Ms. Kim Weber.              After Mr. DeJesus reviewed his

                  file, he advised the undersigned that he received the e-mail

                  with the notices on October 16, 2009, from Ms. Hunthrop, legal


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                  assistant for Ms. Kim Weber.        Mr. DeJesus could not say whether

                  copies of the forfeiture notices were sent to Defendant at the

                  jail.

                        11.    Agent Rorex testified that of the total amount of

                  money seized, $2,200 represented “buy money” and the $80 found

                  in Defendant’s wallet was also “buy money.” The remaining $2,500

                  and the Tahoe were administratively forfeited.

                  DISCUSSION

                        A.    Administrative Forfeiture of the Tahoe and $2,500:

                        12.    The Controlled Substances Act authorizes forfeiture to

                  the Government of certain property seized from drug offenders,

                  including vehicles used to transport controlled substances and

                  “moneys ... or other things of value furnished ... in exchange

                  for a controlled substance” or representing “proceeds traceable

                  to such an exchange.”      21 U.S.C. § 881(a)(4) and (6).          Property

                  having a value of under $500,000.00 can be administratively

                  forfeited, and the declaration of forfeiture has the same force

                  and effect as an order of forfeiture entered by a court.                  19

                  U.S.C. § § 1607, 1609.       Written notice of the seizure must be

                  sent to each party who appears to have an interest in the seized

                  property within 60 days of the date of seizure.               19 U.S.C. §

                  1607(a); 18 U.S.C. § 983(a)(1)(A)(I).           Any person entitled to

                  written notice who does not receive such notice may file a

                  motion to set aside a declaration of forfeiture, “which motion


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                  shall be granted if ... the Government .. failed to take

                  reasonable steps to provide such party with notice; and .. the

                  moving party did not know or have reason to know of the seizure

                  within sufficient time to file a timely claim.”                     18 U.S.C. §

                  983(e)(1).

                        13. While the Defendant cited Rule 41 of the Federal Rules

                  of Criminal Procedure in support of his Motion for the Return of

                  Property, the Court will construe his motion relating to the

                  items administratively forfeited (Tahoe and $2,500) as seeking

                  relief under 18 U.S.C. § 983(e)(1), which is the proper avenue

                  to   challenge       the   adequacy   of     notice   of    an    administrative

                  forfeiture.

                        14.   In Nunley v. Department of Justice, 425 F.3d 1132 (8th

                  Cir. 2005), the Court held that “due process is satisfied if the

                  method of notice is ‘reasonably calculated, under all of the

                  circumstances, to apprise interested parties of the pendency of

                  the action and afford them an opportunity to present their

                  objections.’” Id. at 1135 (citation omitted).                    “Notice by mail

                  is ordinarily presumed to be constitutionally sufficient,” as is

                  notice sent to a defendant in care of his attorney.                            Id.

                  (citations omitted)

                        15. In his Motion for the Return of Property and in his

                  reply to the Government’s response, Defendant contended that he

                  did not receive the forfeiture notices at the jail. It was


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                  unclear whether his attorney at the time, Mr. DeJesus, received

                  the notices, as they were mailed to Defendant’s former attorney,

                  Ms. Weber.    The undersigned, therefore, believed an evidentiary

                  hearing was warranted.

                        At the hearing, Defendant, in essence, conceded that he

                  received the notices and advised his attorney, Mr. DeJesus, to

                  fight for his “stuff” and try to get it back.               The undersigned

                  notes that Defendant’s mail history log from the WCDC, admitted

                  at the hearing as Government’s Exhibit No. 4, confirms that

                  Defendant received two items of mail from the DEA during the

                  time period in question.       (Gov’t Ex. 4 at pg. 4).           Further, Mr.

                  DeJesus testified that he received the e-mail from Ms. Weber’s

                  office forwarding the forfeiture notices.

                        Accordingly, the undersigned finds that Defendant received

                  timely notice of the forfeiture of both the Tahoe and the $2,500

                  in currency, and he is, therefore, not entitled to relief under

                  § 983(e)(1).

                        B. $2,280 Currency Seized:

                        16.   With respect to the $2,280 ($2,200 in the safe and $80

                  from the wallet) that was seized in addition to the Tahoe and

                  $2,500, the Court will treat Defendant’s motion as one under

                  Fed.R.Crim.P. 41(g).        “A Rule 41(g) motion ‘is properly denied

                  if the defendant is not entitled to lawful possession of the

                  seized   property,    the   property      is   contraband   or    subject   to


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                 forfeiture or the government’s need for the property as evidence

                 continues.’” Jackson v. United States, 526 F.3d 394, 397 (8th

                 Cir. 2008)(quoting United States v. Vanhorn, 296 F.3d 713, 719

                 (8th Cir. 2002).

                       Agent    Rorex     testified      that     a      controlled     buy    of

                 methamphetamine was made from Defendant with $2,500 in recorded

                 buy money on September 16, 2009.             According to Agent Rorex, a

                 subsequent comparison of the serial numbers of the money seized

                 with the recorded buy money showed that $2,200 of the money was

                 DEA funds which had been used to buy methamphetamine from

                 Defendant.    (Doc. 87-1 at p. 2).           Rorex testified that the $80

                 recovered from Defendant’s wallet was also identified by serial

                 numbers on the bills as DEA funds that had been used to buy

                 methamphetamine from Defendant.             (Doc. 87-1 at p.2-3).

                       At the hearing, Defendant was unable to definitely state

                 that any of the $2,280 was “clean” money.                  When asked if he

                 believed he was entitled to the $2,280, he said “Possibly, I

                 didn’t know if that money was coming from drugs because I also

                 worked.”    When the undersigned advised Defendant that he had to

                 demonstrate that he was entitled to the money, he could only

                 respond that “possibly” it could be from drugs, but that it

                 could be “good money too” because he was also working and making

                 good money and was gathering money to go to Mexico.

                       The Court believes that Defendant has failed to meet his


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                 burden of proving he had a possessory interest in the $2,280.

                 The Government has sufficiently proven the $2,280 represents

                 “buy money,” or DEA funds.               Accordingly, Defendant is not

                 entitled to a return of this money.                Cf. United States v.

                 Felici, 208 F.3d 667, 670(8th Cir. 2000)(requiring the district

                 court to hold an evidentiary hearing to determine whether “drug-

                 related materials” were limited derivative contraband; noting

                 that “it makes scant sense to return to a convicted drug dealer

                 the tainted tools used or intended to be used in his illegal

                 trade when the same were lawfully seized”).

                 CONCLUSION

                       17.    Based upon the foregoing, the undersigned believes

                 that Defendant has not met his burden of proving that he is

                 entitled to a return of the property that was administratively

                 forfeited,     as     he   had   adequate     notice    of    the    forfeiture

                 proceedings.        As to the remaining $2,280 in currency that was

                 seized, Defendant did not meet his burden of proving that he had

                 a   possessory      interest     it.      Accordingly,       the    undersigned

                 recommends that Defendant’s Motion be denied.

                       The parties have fourteen (14) days from receipt of the

                 report and recommendation in which to file written objections

                 pursuant to 28 U.S.C. § 636(b)(1). The failure to file timely

                 objections may result in waiver of the right to appeal questions

                 of fact. The parties are reminded that objections must be both


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                 timely and specific to trigger de novo review by the district

                 court.

                       DATED this 5th day of November, 2012.




                                                     /s/ Erin L. Setser
                                                     HON. ERIN L. SETSER
                                                     UNITED STATES MAGISTRATE JUDGE




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